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                                                   UNITED STATES BANKRUPTCY COURT
                                                           DISTRICT OF CONNECTICUT

                            In re:                                                   Case No.: 23-20091 (JJT)

                                     ALAN E. WASKOWICZ                               Chapter: 7

                                                      Debtor.                        ECF No. 57
                            ___________________________________/


                                                       DEBTOR’S OBJECTION TO CLAIM


                                     COMES NOW the Debtor in the above-captioned matter, ALAN E.

                            WASKOWICZ, by and through Undersigned Counsel, and Hereby Respectfully

                            OBJECTS to the Proof of Claim filed in this case by TOWN OF SOUTHINGTON TAX

                            COLECTOR, pursuant to Fed. R. Bankr. P. 3007.

                                     In support hereof, the Debtor Respectfully Represents:


                                                                      JURISDICTION

                                 1.     This Honorable Court has jurisdiction over this matter pursuant to 28 U.S.C.

                                        §§ 157 and 1334.

                                 2.     This is a ‘core proceeding’ under 28 U.S.C. § 157(b)(2)(B).

                                 3.     The Debtor resides in the Town of Southington, Hartford County, Connecticut,

                                        and the Debtor does not constitute a “single asset real estate” as that term is

                                        defined in 11 U.S.C. § 101.

                                 4.     Venue of the Debtor's Chapter 7 case and this matter in this District is proper

WILLCUTTS & HABIB LLC                   pursuant to 28 U.S.C. §§ 1408 & 1409.
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                                                                          -1-
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                                                               BASIC FACTS

                            5.     The Debtor commenced this action by the filing of a Chapter 7 petition on

                                   February 12, 2023.

                            6.     The TOWN OF SOUTHINGTON TAX COLLECTOR filed a purported Proof

                                   of Claim (Claim No. 5.1) on July 5, 2023, in the amount of $7,495.71.

                            7.     The TOWN OF SOUTHINGTON TAX COLLECTOR claims said sum is due

                                   for property taxes due on the 2021 Grand List for the real property located

                                   at 340 Lazy Lane in Southington, Connecticut.

                            8.     Also appended to Claim No. 5.1, the TOWN OF SOUTHINGTON TAX

                                   COLLECTOR included evidence of property taxes due on the 2022 Grand

                                   List for the real property located at 340 Lazy Lane in Southington,

                                   Connecticut, in the amount of $7,243.90, though said sum is not claimed in

                                   Claim No. 5.1.


                                                         BASIS FOR OBJECTION

                            9.     The TOWN OF SOUTHINGTON TAX COLLECTOR’s Claim No. 5.1 alleges

                                   that the Debtor owes property taxes to the Town for the real property located

                                   at 340 Lazy Lane in Southington, Connecticut, on 2021 Grand List.

                            10. Said debt for property taxes is not owed by the Debtor to the Town.

                            11. As evidenced by the Debtor’s Amended Schedule A/B (ECF # 10), on the

                                   petition date, the Debtor did not own the real property located at 340 Lazy

                                   Lane in Southington, Connecticut.
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                            12. Further, in both 2021 and 2022, the Debtor also did not own the real property

                                   located at 340 Lazy Lane in Southington, Connecticut.

                            13. Indeed, the Debtor lost the real property located at 340 Lazy Lane in

                                   Southington, Connecticut, in foreclosure.

                            14. The foreclosure action affecting the real property located at 340 Lazy Lane

                                   in Southington, Connecticut is styled: Bank of America, N.A. v. Alan E.

                                   Waskowicz et al., Docket No. HHB-CV-XX-XXXXXXX-S.

                            15. Pursuant to the Judgment of the Connecticut Superior Court dated February

                                   19, 2019 (Aurigemma, J.), title to the real property located at 340 Lazy Lane

                                   in Southington, Connecticut vested in the foreclosure Plaintiff, Bank of

                                   America, N.A., on March 20, 2019. See Exhibit A, appended hereto.

                            16. Further, by Order dated April 29, 2019 and denying the Debtor’s Motion to

                                   Open Judgment of Foreclosure, the Connecticut Superior Court (Aurigemma,

                                   J.) held that “Title [to the real property located at 340 Lazy Lane in

                                   Southington, Connecticut] has already passed.” See Exhibit B, appended

                                   hereto.

                            17. The Debtor lost title to the real property located at 340 Lazy Lane in

                                   Southington, Connecticut at 5:00 p.m. on March 18, 2019, when the Debtor

                                   failed to redeem the property on his Law Day.

                            18. Since March 20, 2019, Bank of America, N.A. has been and continues to be

                                   the owner of the real property located at 340 Lazy Lane in Southington,

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                                19. Any property taxes due to the Town for the real property located at 340 Lazy

                                     Lane in Southington, Connecticut on the 2021 and/or 2022 Grand Lists, are

                                     due from Bank of America, N.A., not from the Debtor.


                                 WHEREFORE, for the foregoing reasons, the Debtor ALAN E. WASKOWICZ,

                            Respectfully OBJECTS to Claim No. 5.1, and Respectfully Moves this Honorable

                            Court to sustain this Objection thereto.


                            DATED AT NEW HAVEN THIS 3RD DAY OF NOVEMBER, 2023.


                                                                       RESPECTFULLY SUBMITTED,
                                                                       THE DEBTOR, ALAN E. WASKOWICZ,
                                                                       BY HIS ATTORNEY,



                                                                       _____________________________________
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